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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                     Case No. 21 CR 661
        v.
                                                     Magistrate Judge Sunil R. Harjani
 JUAN ANTONIO GALLARDO
 CASTRO, also known as “Johnny”


                         MEMORANDUM OPINION AND ORDER

       This matter comes before the Court on the Government’s request that Defendant be

removed to the Eastern District of Tennessee to face conspiracy charges under 21 U.S.C. §§

841(a)(1), (b)(1)(A), and 846 (Count One) and 18 U.S.C. §§ 1956(a)(1)(A)(i) and 1956(h) (Count

Three) pursuant to an indictment filed on October 26, 2021 (“Indictment”). The only contested

issue at this time is identity, and upon the request of the Defendant, an identity hearing was held

on November 3, 2021. This case also presents two novel questions of law that the Seventh Circuit

has not addressed. The first question is what standard of proof applies in an identity hearing

conducted pursuant to Federal Criminal Rule of Procedure 5(c)(3)(D)(ii). The second issue is

whether the fact that the defendant has the same name as the person charged in the indictment

creates a rebuttable presumption of identity. For the reasons stated below, the Court finds that

probable cause is the appropriate standard at an identity hearing on an out-of-district indictment,

and that an indictment against an individual with the same name as the Defendant does not

establish a rebuttable presumption of identity. Because the Government has satisfied its burden to

show probable cause to believe that the Defendant is the same person named in the October 26,

2021 indictment issued in the Eastern District of Tennessee, the Court grants the Government’s

request to transfer Defendant to the Eastern District of Tennessee.
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                                        BACKGROUND

       On or about October 26, 2021, Juan Antonio Gallardo Castro, also known as “Johnny,”

was indicted in the Eastern District of Tennessee on charges of conspiracy to distribute five

kilograms or more of a mixture or substance containing a detectable amount of cocaine, a Schedule

II controlled substance, in violation of Title 21, United States Code, Sections 846, 841(a)(1),

841(b)(1)(A) (Count One) and conspiracy to commit money laundering, in violation of Title 18,

United States Code, Sections 1956(a)(1)(A)(i) and 1956(h) (Count Three). On October 27, 2021,

Defendant was arrested in Chicago, Illinois. On October 28, 2021, he appeared before the Court

for an initial removal hearing. During his appearance, Defendant waived his right to a detention

hearing without prejudice to reassertion in the charging district but contested identity, claiming

that he is not the same person named in the Indictment. Since an indictment has already issued,

the only remaining issue before the Court is Defendant’s identity. Fed. R. Crim. P. 5(c)(3)(C)-(D);

Fed. R. Crim. P. 5.1(a)(2); Kaley v. United States, 571 U.S. 320, 329 (2014).

       Pursuant to Federal Rule of Criminal Procedure 5(c)(3)(D)(ii), the Court held an identity

hearing on November 3, 2021 to determine whether removal of Defendant to the Eastern District

of Tennessee would be proper. At the identity hearing, the Government called Thomas Garrison,

a Special Agent with the Tennessee Bureau of Investigation and Task Force Officer with the

Federal Bureau of Investigation, and James A. Healy, a Task Force Officer with the Drug

Enforcement Administration.      The Government also offered several exhibits, including the

October 26, 2021 arrest warrant for Juan Antonio Gallardo Castro, a/k/a “Johnny,” the October

26, 2021 Indictment, a photograph from a U.S. visa record for Juan Antonio Gallardo Castro taken

in approximately 2016, a Mexican identification card that included a photograph of the Defendant

and listed his name as “Juan Antonio Gallard Castro” that was recovered from Defendant at the



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time of his arrest, and Defendant’s booking photograph from October 27, 2021. Defendant

presented no witnesses or documents at the identity hearing, but cross-examined the Government’s

witnesses. At the conclusion of the hearing, the Court ordered the Government to file a brief

setting forth its position regarding identity by November 12, 2021. Defendant requested and was

granted until November 29, 2021 to file his response brief. Having reviewed the evidence

submitted at the identity hearing and the briefs and authorities cited by the parties, the Court finds

that Defendant is the same person named in the Indictment and arrest warrant.

                                           DISCUSSION

       Rule 5 of the Federal Rules of Criminal Procedure governs initial appearances upon an

arrest. As Defendant was arrested in a district other than where the offense was allegedly

committed, Rule 5(c)(3) provides the procedures that apply. Fed. R. Crim. P. 5(c)(3). Specifically,

Rule 5(c)(3) requires a magistrate judge to, among other things, transfer a defendant to the district

where the offense was allegedly committed if: (1) the government produces a reliable electronic

format of the warrant and (2) “the judge finds that the defendant is the same person named in the

indictment . . . or warrant.” Fed. R. Crim. P. 5(c)(3)(D). “Rules 5 and 40 guarantee that a defendant

will not forcibly be brought to a different state until the government produces a warrant and a judge

determines that the defendant is the same person named in the warrant, information, or

indictment.” United States v. Vega, 438 F.3d 801, 803 (7th Cir. 2006).

       One of the primary purposes of removal proceedings before transporting a defendant from

one federal district to another for trial is to “guard against improvident removals by requiring

sufficient grounds therefore.” United States v. Green, 499 F.2d 538, 540 (D.C. Cir. 1974); see also

Original Advisory Committee Note 2 to Fed. R. Crim. P. 40 (“The purpose of removal proceedings

is to accord safeguards to a defendant against an improvident removal to a distant point for trial.”).



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These safeguards makes sense both practically and historically. Practically, “transportation of a

person to a distant point for trial involves serious consequences.” Toth v. Talbott, 114 F. Supp.

468, 469 (D.D.C. 1953) (considering removal by court-martial without a hearing) rev’d on other

grounds 215 F.2d 22 (D.C. Cir. 1954), rev’d sub nom. United States ex rel. Toth v. Quarles, 350

U.S. 11 (1955). Historically, “[i]t is contrary to the principles of American institutions to remove

a person to a distant point for trial without express authority to do so and without appropriate

safeguards provided by statute. In fact, one of the grievances of the Colonists that led to the

American Revolution was a threat on the part of the British authorities to remove certain persons

from the Colonies to the British Isles for trial.” Id. at 469-70 n. 2 (noting that the “Declaration of

Independence in enumerating the grievances against the British Crown specifies: ‘transporting us

beyond Seas to be tried for pretended offenses.’”). Obviously when a defendant’s arrest takes

place in same district where the offense was allegedly committed, the situation does not come

within the purpose of the rule. Thus, there is no pretrial procedure for identity hearings when a

defendant is arrested within the district where the offense was allegedly committed. The procedure

is one uniquely tied to out-of-district arrests.

A.      The Standard for Determining Identity Under Rule 5(c)(3)(D)(ii)

        In this case, the Government has produced an arrest warrant for an individual named Juan

Antonio Gallardo Castro, also known as “Johnny,” and the only issue before the Court is the

question of identity. At the outset, the Court notes that Rule 5 does not specify the standard which

a court should apply when determining whether an arrestee is the person named in an indictment.

Likewise, neither the Seventh Circuit nor a court in this district has addressed the standard for

determining identity for purposes of removal pursuant to an indictment in a Rule 5(c)(3)(D)(ii)

proceeding. The Government cites a Seventh Circuit case decided in 1937, Trawczynski v. United



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States, 89 F.2d 922 (7th Cir. 1937). However, in Trawczynski, the Seventh Circuit did not squarely

consider the standard applicable in an identity/removal hearing where the sole issue is whether the

government has established identity. Instead, when it analyzed the proper procedure in removal

proceedings, it analyzed whether from all the evidence probable cause had been shown that the

defendant was guilty of the offense charged in the indictment. Id. at 923. The defendant argued

that the district judge erred by proceeding on the theory that a case of probable cause was

established by the indictment in addition to proof of the identity of accused. Id. The Seventh

Circuit held that in a removal, the government “establishes a prima facie case of probable cause

by proof of an indictment which properly charges the defendant with the commission of a crime

against the United States, together with proof of identity.” Id. The Trawczynski court continued,

however, by stating that “the defendant is entitled to offer any proof otherwise competent with a

view of overcoming such prima facie case” and the court will “determine from all the evidence

whether probable cause has been shown.” Id. Significantly, the Trawczynski court did not address

whether the probable cause standard applies to a preliminary proceeding where the only issue is

the identity of the arrestee. Moreover, Trawczynski predates Rule 5(c)(3) (and its predecessor Rule

40(b)(3)). In 1944, Rule 40 of the Federal Rules of Criminal Procedure was adopted to govern

proceedings for removal, under which “probable cause is established, beyond the purview of

judicial review, by the grand jury's return of the indictment.” United States v. Perkins, 433 F.2d

1182, 1187 (D.C. Cir. 1970); see Advisory Committee Note 3 to 1944 adoption of Fed. R. Crim.

P. 40 (“[I]n case of an indictment, the grand jury, which is an arm of the court, has already found

probable cause. Since the action of the grand jury is not subject to review by a district judge in

the district in which the grand jury sits, it seems illogical to permit such review collaterally in a

removal proceeding by a judge in another district.”). Thus, pursuant to Rule 5.1, no preliminary



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hearing is required after an indictment. See Fed. R. Crim. P. 5.1(a)(2) (stating that preliminary

hearing is required “unless . . . the defendant is indicted”). In sum, Trawczynski pre-dates Rule 40

and considered the more expansive question of whether probable cause existed to believe that the

defendant was guilty of the offense charged. Because Trawczynski failed to directly address the

question at issue of whether probable cause is the proper standard to be applied at an identity

hearing, the Court does not believe it mandates the decision here.

       The majority of courts around the country that have considered the issue have held that a

probable cause standard applies. See United States v. Asencio, 2017 WL 4005636, at *2 (S.D.N.Y.

Sept. 12, 2017); United States v. Saldana-Beltran, 37 F.Supp.3d 1180, 1186 (S.D. Ca. 2014);

United States v. Antoine, 796 F.Supp.2d 417, 419-20 (E.D. N.Y. 2011); United States v. Rodriguez-

Torres, 2014 WL 2320081, *2 (S.D.N.Y. May 30, 2014); McCrimmon v. United States, 2009 WL

4347452, at *1 (N.D. Miss. Nov. 24, 2009). In this case, Defendant has not objected to the

application of the probable cause standard to the identity determination. Doc. 17 at 3.

       The Court finds that probable cause is the correct standard for a determination of identity

pursuant to Rule 5(c)(3)(D)(ii).     The Court reaches this conclusion by reading Rule 5 in

conjunction with Rule 5.1, which governs preliminary hearings for felony charges (also known as

probable cause hearings). Rule 5(c)(3)(D)(ii) is silent as to the standard to be applied to determine

whether the defendant in an action is the same person named in an out-of-district indictment.

However, Rule 5(c)(3)(C) provides that if an initial appearance occurs in a district other than where

the offense was allegedly committed, “the magistrate judge must conduct a preliminary hearing if

required by Rule 5.1” and probable cause is the explicit standard that applies in a preliminary

hearing conducted pursuant to Rule 5.1(e). Fed. R. Crim. P. 5(c)(3)(C). Turning to Rule 5.1(e), at

a preliminary hearing, the magistrate judge must “find[] probable cause to believe an offense has



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been committed and the defendant committed it” to require the defendant to appear for further

proceedings. Fed. R. Crim. P. 5.1(e); see also Fed. R. Crim. P. 5.1(f). True, preliminary hearings

and identity hearings are two different proceedings. However, in the context of a preliminary

hearing, a defendant may contest that he is the person identified in the complaint, and as a result,

argue that there is no probable cause that he committed the crime. Thus, there is sometimes an

overlap between the issues in a preliminary hearing and an identity hearing. Accordingly, keeping

the same standard in an identity hearing as in a preliminary hearing makes sense and ensures a

consistent result. And further, keeping the same standard for defendants charged by complaint

and those charged by indictment also makes sense, as there is no discernible reason to impose a

different standard – both defendants have been charged through a determination of probable cause,

the former by a judicial officer and the latter by a grand jury. Also, while not explicitly stating

that probable cause is the standard for an identity hearing in Rule 5.1, the only standard discussed

in Rules 5 and 5.1 is probable cause. Accordingly, a reasonable and sensible reading of Rule

5(c)(3)(D)(ii) in conjunction with Rule 5.1(f) leads to a conclusion that probable cause is the

standard that should apply to identity hearings.

       Additionally, in other preliminary stages of a criminal case, the government is held to a

probable cause standard. For example, the government must establish probable cause to believe

that the defendant committed the crime alleged in order for a grand jury to return an indictment.

Kaley, 517 U.S. at 328; United States v. Schreiber, 866 F.3d 776, 782 (7th Cir. 2017) (“a grand

jury indictment conclusively establishes probable cause.”). Rules 4 and 9 expressly require a

“probable cause” determination for the issuance of an arrest warrant. See Fed. R. Crim. P. 4(a)

(“[i]f the complaint or one or more affidavits filed with the complaint establish probable cause to

believe that an offense has been committed and that the defendant committed it, the judge must



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issue an arrest warrant [.]”); Fed. R. Crim. P. 9(a) (the court must issue a warrant or summons “for

each defendant named in an indictment or named in an information if one or more affidavits

accompanying the information establish probable cause to believe that an offense has been

committed and that the defendant committed it.”). Similarly, Rule 41(d) provides that a search

warrant must issue “if there is probable cause to search for and seize a person or property or to

install and use a tracking device.” Fed. R. Crim. P. 41(d).

        Moreover, at least three other district courts have reached the conclusion that a probable

cause standard applies to determine whether a defendant is the same person named in an out-of-

district indictment based on similar reasoning. See Asencio, 2017 WL 4005636, at *2 (agreeing

that the probable cause standard should apply because it is the “same standard that applies in a

preliminary hearing conducted pursuant to Rule 5.”); Rodriguez-Torres, 2014 WL 2320081, at *2

(concluding “that a defendant entitled to a preliminary hearing decided on probable cause should

not simultaneously be subject to a determination of identity according to some other (and

potentially higher) standard.”); Antoine, 796 F.Supp.2d at 420 (“the court is hard pressed to believe

that the standard for removal pursuant to Rule 5 would be higher than that required for a

preliminary hearing, (see Rule 5.1(e)), for a grand jury to return an indictment, or for the court to

issue an arrest warrant or summons on an indictment or information, (see Rule 9(a)).”). Given that

the government must demonstrate probable cause in other preliminary criminal proceedings and

also Rule 5(c)(3)(C)’s reference to Rule 5.1, which contains an explicit probable cause standard,

it is reasonable to expect Rule 5(c)(3)(D)(ii) to explicitly state a different standard of proof if one

was required. Therefore, the Court infers that Rule 5(c)(3)(D)(ii)’s silence with respect to the

standard of proof further demonstrates that a probable cause standard is the correct approach. 1


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         The Government notes United States v. Teju, 2013 WL 820828, *3 (W.D. La. Mar. 4, 2013), which
stated in conclusion that the government had “proved by clear and convincing evidence” that the defendant

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B.      Identity of Names

        The Government also argues, without any analysis, that evidence of identity of names

creates a rebuttable presumption of identity. The Government points out that: (1) Defendant

identified himself to arresting officers as “Juan Antonio Gallardo Castro,” the same name listed in

the arrest warrant and Indictment; (2) at the time of his arrest, Defendant had in his possession a

Mexican photo identification card that listed “Juan Antonio Gallardo Castro” and included a

photograph that depicted the Defendant; and (3) at his initial appearance, Defendant acknowledged

that he was Juan Antonio Gallardo Castro. See Nov. 3, 2021 Identity Hearing Transcript, Doc. 12

(hereinafter, “Tr.”) at 15:3-13, 15:18-23, 16:2-23; Gov’t Exs. 4, 5. Because Defendant has the

same name as the individual in the arrest warrant and Indictment, the Government claims a rebuttal

presumption of identity exists, which Defendant has failed to refute with any evidence or witness.

Doc. 14 at 8. In other words, under the Government’s view, an identity of names is sufficient to

satisfy its burden of establishing probable cause to believe that a defendant is the same person

named in the indictment or warrant if the defendant offers no contrary evidence.

        The Court rejects the proposed rebuttable presumption of identity from identical names.

To begin with, neither the text of Rule 5 nor the Advisory Committee Notes require a defendant

to rebut evidence of identity of names and no such rule exists in this Circuit. The Seventh Circuit


was the individual identified in the indictment. The Court also notes that in United States v. Varnes, 2010
WL 2035573, at *5 (D. Ariz. May 20, 2010), the magistrate judge stated that the government has “sustained
its burden of proof by a preponderance of the evidence than the person before the Court is Defendant Jeffrey
William Varnes.” The Court rejects the suggestion that Rule 5(c)(3)(D)(ii) requires a higher than probable
cause standard of proof to apply to the identity determination. Neither Teju nor Varnes squarely addressed
the question of the appropriate standard for evaluating identity under Rule 5(c)(3)(D)(ii). Moreover, for
the reasons explained herein, had the drafters of Rule 5(c)(3)(D)(ii) intended a standard of proof higher
than probable cause, the Court would expect they would had said so explicitly. For example on a motion
for pretrial detention, the government faces an evidentiary burden of establishing by “clear and convincing
evidence” that no release condition or combination of conditions will reasonably assure the safety of the
community, and that higher burden is expressly required by the text of the Bail Reform Act. See 18 U.S.C.
§ 3142(f)(2)(B).


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has previously held that “[i]dentity of name alone does not prove the identity of a person beyond

a reasonable doubt” for purposes of establishing a defendant’s status as a felon as an element of

the crime charged. United States v. Allen, 383 F.3d 644, 649 (7th Cir. 2004). Acknowledging a

circuit split on the issue, the Seventh Circuit adopted the majority approach and held that a

“conviction record containing the defendant’s name as the sole source of identification is

insufficient to meet the government’s burden of proof due to the prevalence of common or identical

names.” Id. at 648 (citing United States v. Jackson, 368 F.3d 59, 68 (2d Cir. 2004) (explaining,

“[n]ames, of course, vary enormously in commonness, some names being shared by a great many

users.”); United States v. Weiler, 385 F.2d 63, 66 (3d Cir. 1967) (“we cannot agree that the

appellant's name is so unusual as to be persuasive even though, as the trial court found, there is a

paucity of such names in the Philadelphia telephone directory”); Gravatt v. United States, 260 F.2d

498, 499 (10th Cir. 1958) (“It is common knowledge that in many instances men bear identical

names.”)).

          In Allen, the defendant David L. Allen showed that the most recent Indianapolis telephone

directory had three listings for “David L. Allen,” three for “DL Allen,” 16 more for “David Allen,”

and another 10 for “D. Allen.” Allen, 383 F.3d at 647. Thus, the Allen court reasoned that a

“conviction record bearing the defendant’s name but no other identifying information is

insufficient to identify the conviction as the defendant’s for purposes of proving felon status.” Id.

at 649.

          The issue here is whether identity of names alone establishes a presumption of probable

cause to believe that the Defendant is the person named in the out-of-district warrant which the

Defendant must rebut. In the Court’s view, in making the probable cause assessment as to identity,

a rebuttable presumption of identity based on an identity of names is not appropriate for the same



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reason recognized in Allen, the prevalence of common or identical names. The Government’s

proposed rebuttable presumption rule is problematic because it applies regardless of the

commonness of names involved. A name can be identical without there being identity of person.

In some cases, the mere fact that a person of the same common name as the defendant is named in

the indictment can provide very little support for identity. One recent study of the most common

names in the United States noted that there are approximately 20,000 to 30,000 individuals with

the names James Smith, Michael Smith, Robert Smith, Maria Garcia, David Smith, Maria

Rodriguez, Mary Smith, Maria Hernandez, Maria Martinez and James Johnson. 2 An individual

arrested with the name Maria Garcia and named as such in the indictment would face a

presumption of identity—but so would the other 27,835 Maria Hernandez’s in the United States.

In the case of Maria Hernandez, applying a presumption would be nonsensical. 3

        Moreover, an identity of names presumption, which a defendant must rebut, creates a

tension with the government’s burden in criminal cases. As stated above, in nearly every

preliminary proceeding in a criminal case, the government bears the burden of proof by probable

cause. Only where a rule or statute explicitly shifts a burden does the defendant bear some

responsibility for presenting evidence. See e.g. 18 U.S.C. §§ 3142(e)(2)-(3), (f) (the Bail Reform

Act creates a “rebuttal presumption” that a defendant is ineligible for bail if he is charged with

certain enumerated crimes; defendant bears a burden of production to rebut the presumption).

Even though the proposed shift here would presumably be a burden of production (and not

necessarily the burden of proof), a shift when not based on an explicit rule or statute places an


2
       See       https://blogs.ancestry.com/cm/calling-james-smith-10-most-common-first-and-surname-
combinations
3
        “What’s in a name? That which we call a rose by any other name would smell as sweet?” William
Shakespeare, Romeo & Juliet, Act 2, Scene 2 (Juliet recognizing that the name Montague is irrelevant as it
does not identify the person she loves (Romeo)).

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impermissible burden on a defendant who generally has no burden at all in preliminary criminal

proceedings. That burden is significant, because it would be before discovery has occurred and is

in tension with defendant’s Fifth Amendment right not to make statements that would incriminate

himself. A defendant, at this early stage of the proceedings, generally has few avenues to discover

and present evidence to rebut the government’s allegations.

       The better approach is simply to permit a court to use the same name as simply one source

of evidence in determining whether the government has proved identity by probable cause, without

any presumption attached to it. This approach allows a court to consider the commonness of the

same names while also leaving the burden on the government. The inference is a permissible—

not a mandatory—factual inference that a court may make in deciding whether the defendant is

the same individual charged in the indictment. A court should be able to look at all the evidence,

weigh it, and draw whatever inference it finds warranted on the facts. The Court is further

persuaded that a permissible inference is the correct standard because it does not relieve the

government of its burden of establishing probable cause of identity. 4

       Further, the Government cites Smith v. United States, 92 F.2d 460, 461 (9th Cir. 1937), for

its proposed rebuttable presumption standard. The Court finds Smith unconvincing. The Smith

court stated: “An identity of names is sufficient to create an inference of identity which the

petitioner must rebut.” Smith, 92 F.2d at 461 (emphasis added). The Smith court cited only to the

Ninth Circuit’s decision in Wong v. Esola, 6 F.2d 828, 829 (9th Cir. 1925), to support its rebuttable




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  The Court acknowledges that a handful of decisions around the country have found a rebuttable
presumption of identity from identical names appropriate in the removal context. Asencio, 2017 WL
40056365, at *4; Salana-Beltran, 37 F.Supp.3d at 1186; Rodriguez-Torres, 2014 WL 2320081, at *3; Teju,
2013 WL 820828, at *2; United States v. Martinez-Leon, 565 F.Supp.2d 1131, 1134 (C.D. Ca. 2008). The
Court respectfully disagrees with each of these decisions for the reasons stated above.

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presumption of identity rule. But Wong—in addition to being non-binding on this Court—does

not appear to stand for the presumption rule advanced in Smith.

        In Wong, the Ninth Circuit stated only that an “inference of identity of person may be drawn

from identity of name.” 6 F.2d at 829 (emphasis added). This language from Wong is consistent

with the Court’s conclusion that an identity of names may give rise to a permissible inference.

Additionally, and importantly, the Wong court did not state that the identity of names creates a

presumption of identity that a defendant must rebut, which is the proposition for which Smith cites

it. Furthermore, the reference to a rebuttable presumption in Smith was unnecessary because the

court did not rely exclusively on the unrebutted identity of names. The Smith court went on to rely

on facts beyond the mere identity of names, including testimony of an agent and the location of

petitioner at the time of the arrest, which it held “strengthen[ed] the inference and fully justifie[d]”

the petitioner’s removal to California. Smith, 92 F.2d at 461. Beyond the mere identity of names,

the Wong court also relied on additional evidence relating to a telegram that petitioner received to

show that the petition was the person named in the indictment. Wong, 6 F.2d at 829.

        Similarly here, the Government did not rely only on the same name evidence. To prove

that Defendant is the person named in the indictment and arrest warrant, the Government relied on

the testimony of the case agent, Special Agent Garrison, and the arresting officer, Task Force

Officer Healy, as well as a photograph from a U.S. visa record for Juan Antonio Gallardo Castro

taken in approximately 2016, a Mexican identification card that included a photograph of the

Defendant and listed his name as “Juan Antonio Gallard Castro” that was recovered from

Defendant at the time of his arrest, and Defendant’s booking photograph from October 27, 2021

as well as wiretap and other electronic evidence. Accordingly, for the reasons stated above, the

Court declines the government’s invitation to apply a rebuttable presumption in this case.



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C.      Evidence in Support of Identity
        Applying the probable cause standard, the Court proceeds to evaluate the evidence

presented at the identity hearing. “Probable cause is not a high standard.” United States v. Scheck,

3 F.4th 943, 946 (7th Cir. 2021). “In the context of an identity hearing, probable cause exists ‘if

the law enforcement official, on the basis of the totality of the circumstances has sufficient

knowledge or reasonably trustworthy information to justify a person of reasonable caution in

believing’ that the defendant is the person named in the out-of-district warrant or indictment.”

Rodriguez-Torres, 2014 WL 2320081, at *3 (quoting United States v. Gagnon, 373 F.3d 230, 236

(2d Cir. 2004)). “The sole purpose of [an identity] hearing is to determine whether the person

arrested is the person wanted in the other district. It is not a merits hearing.” Asencio, 2017 WL

4005636, at *2.

        At the identity hearing, Special Agent Garrison testified that he is a case agent involved in

a cocaine trafficking investigation in the Eastern District of Tennessee. Tr. 22:19-23:1. The

Indictment filed on October 26, 2021 arose out of the same cocaine trafficking investigation. Tr.

22:19-24:5. Agent Garrison testified that he was familiar with Juan Antonio Gallardo Castro’s

physical appearance from his photograph in his United States visa record, which is Government

Exhibit 3. Tr. 24:9-13, 25:13-18; Gov’t Ex. 3. Special Agent Garrison testified that he believed

the photograph in Government Exhibit 3 was taken in approximately 2016. Tr. 41:11-13.

        Special Agent Garrison also testified that prior to charging, the Juan Antonio Gallardo

Castro charged in the Indictment was identified by a cooperating source (“CS”) involved in the

conspiracy. Tr. 26:18-27:11, 37:16-19. Agent Garrison showed the unlabeled photograph in

Government Exhibit 3 to the CS, and the CS identified the individual as a participant in the cocaine

trafficking conspiracy whom the CS knew as “Johnny.” Tr. 26:18-27:2. Agent Garrison testified

that the CS had direct contact with Juan Antonio Gallardo Castro relating to conduct charged in

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the Indictment during the time period of the conspiracy charged in the Indictment. Tr. 27:3-12,

32:25-33:21, 36:11-17, 42:12-14.

       Additionally, Agent Garrison testified that investigators intercepted, via Court-authorized

wiretaps, multiple telephone calls with a Mexican telephone number that related to the conspiracy

charged in the Indictment. Tr. 29:8-22.      According to Agent Garrison, this same Mexican

telephone number was also identified on toll records of telephone numbers of others involved in

the conspiracy. Tr. 29:8-14, 49:16-50:2. The Mexican phone number was linked to Juan Antonio

Gallardo Castro through United States visa information for a minor child. Specifically, the

Mexican telephone number was associated with the minor child’s United States visa records, and

the same visa records listed the child’s father as Juan Antonio Gallardo Castro. Tr. 27:21-28:19.

Agent Garrison testified that the child’s visa records included a photograph of Juan Antonio

Gallardo Castro which is the same photograph as the Government’s Exhibit 3 and the same

photograph the CS identified as “Johnny.” Tr. 28:20-29:2. The child’s visa record also listed Juan

Antonio Gallardo Castro’s date of birth. Tr. 29:3-7.

       Agent Garrison testified that the same Mexican phone number that is associated with the

child’s visa record was intercepted on wires as part of this investigation and those conversations

related to the conspiracy charged in the Indictment. Tr. 46:21-47:6. Agent Garrison further

testified that investigators intercepted pertinent calls with a domestic telephone number subscribed

to “Juan Gallardo.” Tr. 39:15-20. Spanish-language linguists translating the intercepted calls

identified the person on the Mexican telephone number as the same person speaking on the

domestic telephone number subscribed to “Juan Gallardo.” Tr. 39:21-25. Agent Garrison stated

that the individual using both telephone numbers associated with Mr. Gallardo was referred to as

“Johnny,” the name the CS used for Juan Antonio Gallardo Castro. Tr. 40:4-10.



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       Finally, Agent Garrison testified that the same Mexican telephone number was associated

with a WhatsApp account that was located in the Eastern District of Tennessee around the same

time as the criminal activity, and in the Northern District of Illinois through IP addresses used by

the phone to access the WhatsApp account. Tr. 30:1-17, 34:6-35:2. As part of his investigation,

Agent Garrison also reviewed border crossing information which showed Juan Antonio Gallardo

Castro in the United States during the period of the conspiracy charged in the Indictment. Tr.

45:11-17. Agent Garrison further testified that in September 2021, the WhatsApp account was

most commonly accessed using an IP address linked to an Extended Stay hotel in the Chicago area.

Tr. 30:1-16, 47:18-23. Agent Garrison added that this information was used by law enforcement

to surveil and locate Defendant in the Chicago area in or about September 2021, which led to

Defendant’s apprehension and arrest on October 27, 2021. Tr. 30:1-25, 47:7-48:4. Agent Garrison

testified that at the time of his arrest, Defendant had a phone that had a Mexican telephone number,

but he did not know the telephone number for that phone. Tr. 48:16-24.

       On cross-examination, Agent Garrison stated that: (1) law enforcement agents did not

observe Defendant distributing or possessing cocaine in the Eastern District of Tennessee; (2) the

CS provided only historical information to the investigators after the fact; (3) after being

interviewed by investigators, the agents did not have the CS do any phone or drug transactions

with Defendant; and (4) the investigators did not ask the CS to confirm that the voice of the

individual on the intercepted phone calls was the individual the CS knew as Johnny. Tr. 34:4-5,

36:20-23, 37:20-23, 38:2-13, 38:16-19, 39:1-6, 40:11-13.

       Task Officer Healy also testified at the identity hearing. Officer Healy testified that he and

members of his team arrested Defendant on October 27, 2021. Tr. 5:10-17. Prior to Defendant’s

arrest, Officer Healy received records from Special Agent Garrison, including a copy of the arrest



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warrant (Gov’t Ex. 1), Indictment (Gov’t Ex. 2), and a photograph of Juan Antonio Gallardo Castro

labeled with his name (Gov’t Ex. 3). Tr. 7:3-14, 9:21-10:11, 11:13-12:6, 12:23-13:4. Officer Healy

testified that at the time of the October 27, 2021 arrest, Defendant identified himself as “Juan

Antonio Gallardo Castro” and had in his wallet a Mexican identification card with the name “Juan

Antonio Gallardo Castro, the same date of birth for Juan Antonio Gallardo Castro included in the

child’s visa record, and a photograph depicting Defendant. Tr. 16:1-17:4, 13:14-15:23. During the

identity hearing, Officer Healy identified Defendant as the individual he arrested on October 27,

2021. Tr. 6:5-20.

       The Court finds that the Government has presented credible evidence establishing probable

cause to believe that Defendant is the same person named in the Indictment as well as the arrest

warrant. The CS had direct contact with Juan Antonio Gallardo Castro relating to conduct charged

in the Indictment and the CS identified the visa record photograph in Government Exhibit 3 as

“Johnny,” the man the CS had direct contact with in the Eastern District of Tennessee as part of

the charged conspiracy. Defendant has offered no evidence to suggest that he is not the Juan

Antonio Gallardo Castro named in the indictment. Rather, Defendant’s brief is focused solely on

the reliability of the CS’s identification of Defendant. See Doc. 17. That is a valid point, as the

Court heard very little during the hearing about the reliability of the CS, or even (and rather

ironically) the identity of the CS. Nevertheless, the Government’s proof of identity is not based

solely on what the CS told investigators.

       First, there is an exact match of Defendant’s name with the individual named in the arrest

warrant and Indictment. At the time of his arrest, Defendant identified himself to arresting officers

as “Juan Antonio Gallardo Castro,” the same name listed in the arrest warrant and Indictment.

Defendant also had in his possession a Mexican photo identification card that listed the same name



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and included a photograph of Defendant. The Mexican identification card had the same date of

birth as the Juan Antonio Gallardo Castro in the photograph included in the child’s visa records

(Exhibit 3). Moreover, at his initial appearance, Defendant acknowledged that he was Juan

Antonio Gallardo Castro. Second, the Court finds that the photograph in Government Exhibit 3

appears to be the Defendant based on personal observation. Third, the same photograph and visa

record for Juan Antonio Gallardo Castro is associated with a Mexican phone number via the minor

child’s United States visa information which lists the child’s father as Juan Antonio Gallardo

Castro and also listed Juan Antonio Gallardo Castro’s date of birth. Fourth, the same Mexican

phone number that was associated with the child’s visa record was intercepted on wiretaps as part

of this investigation and those discussions related to the charged cocaine trafficking conspiracy.

Fifth, Spanish-language linguists matched the voice of the person using the Mexican phone

number to the voice of the person using a domestic telephone number registered to “Juan

Gallardo,” and the person using those telephone numbers is referred to as “Johnny” on the wires.

Sixth, both the Mexican telephone number and the domestic telephone number subscribed to Mr.

Gallardo were intercepted over the other target phones that law enforcement was monitoring.

Seventh, the Mexican telephone number’s location information (based on IP addresses used to

access an associated WhatsApp account) placed the telephone user in the Eastern District of

Tennessee during the time frame of the conspiracy and in the Chicago area. Eighth, the Mexican

telephone number and the Chicago-area IP information were used to locate Defendant and led to

his arrest on October 27, 2021. Ninth, the border crossing records for Juan Antonio Gallardo

Castro confirm that he was in the United States during the relevant part of the conspiracy.

       Though not overwhelming, all of this evidence together is enough to satisfy the probable

cause standard. The evidence shows there is a fair probability that Defendant used two telephone



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numbers linked to him to carry out the conspiracy and that one of those telephone numbers led to

his arrest in the Northern District of Illinois. Combined with evidence of the identical name of

Defendant and the person charged in the Indictment, and the CS’s identification of Defendant as

an individual involved in the conspiracy, there is a fair probability, based on the totality of the

circumstances, that Defendant is the Juan Antonio Gallardo Castro named in the Indictment and

thus the Government has sufficiently proven identity. Therefore, Defendant is subject to removal

to the Eastern District of Tennessee.

                                        CONCLUSION

       For the reasons set forth above, the Court finds that Defendant is the person charged in the

Eastern District of Tennessee Indictment and named in the corresponding arrest warrant.

Defendant shall be removed in the custody of the U.S. Marshal to the Eastern District of Tennessee.

SO ORDERED.




Dated: December 16, 2021                             ______________________________
                                                     Sunil R. Harjani
                                                     United States Magistrate Judge




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